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                 4                                 UNITED STATES DISTRICT COURT
                 5                                        DISTRICT OF NEVADA
                 6                                                   ***
                 7     SECURITY ALARM FINANCING                              Case No. 2:16-CV-592 JCM (VCF)
                       ENTERPRISES, L.P. d/b/a SAFEGUARD
                 8     SECURITY,                                                               ORDER
                 9                                           Plaintiff(s),
               10              v.
               11      MIKAYLA NEBEL, et al.,
               12                                          Defendant(s).
               13
               14              Presently before the court is plaintiff Security Alarm Financing Enterprises, L.P.’s
               15      proposed final judgment in a civil action and permanent injunction. (ECF No. 124). This court
               16      has reviewed and will adopt the proposed judgment, with two caveats: (1) this court clarifies that
               17      it received the transferred action on March 17, 2016, (ECF No. 55) and; (2) plaintiff has not
               18      presented sufficient proof for its calculation of requested attorneys’ fees, which are permissible
               19      under 15 U.S.C. § 1117(a). See Gracie v. Gracie, 217 F.3d 1060, 1070 (9th Cir. 2000) (“[T]he
               20      district court also erred by not developing an adequate record to establish the reasonableness of
               21      the total fee award.”); see also Octane Fitness, LLC v. ICON Health & Fitness, Inc., 134 S. Ct.
               22      1749, 1756 (2014) (defining the term “exceptional,” with reference to 15 U.S.C. § 1117(a)).
               23              Therefore, the court will grant the relief requested in the proposed final judgment and
               24      reiterated below, with the exception of the $24,978.95 requested for attorneys’ fees. (ECF No.
               25      124).
               26              Should plaintiff seek attorneys’ fees pursuant to § 1117(a), it will file a corresponding
               27      motion for attorneys’ fees within fourteen (14) days of the date of this order. That motion must
               28      comply with Local Rule 54-14. See Branch Banking & Trust Co. v. Pahrump 194, LLC, No. 2:12-

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                1      cv-1462-JCM-VCF, 2017 WL 536837, at *2 (D. Nev. Feb. 9, 2017) (denying a motion for
                2      attorneys’ fees for failure to strictly adhere to Local Rule 54-14).
                3             Accordingly,
                4             IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that plaintiff’s proposed
                5      judgment (ECF No. 124) be, and the same hereby is, ADOPTED in accordance with the foregoing,
                6      and the following remedies shall be GRANTED:
                7             1. Statutory damages in the amount of $30,000;
                8             2. Costs in the amount of $426.87;
                9             3. Post-judgment interest on the principal sum at the judgment rate from the date of
              10                  entry of the Judgment until paid in full; and
              11              4. “Niggemyer, and his agents, servants, employees, confederates, attorneys, and
                                 any persons acting in concert or participation having knowledge of this Order
              12                 by service or actual notice . . . are hereby permanently enjoined and restrained
                                 from using any reproduction, counterfeit, copy, or colorable imitation of the
              13                 SAFE Marks in commerce including, without limitation: [] by selling, offering
                                 for sale, distributing, promoting, or advertising any good or service in
              14                 connection with such reproduction, counterfeit, copy, or colorable imitation of
                                 the SAFE Marks.”
              15
                       (ECF No. 124 at 4–5).
              16
                              IT IS FURTHER ORDERED that, should plaintiff seek attorneys’ fees, it shall submit a
              17
                       corresponding motion requesting that relief within fourteen (14) days of the date of this order.
              18
                              DATED June 14, 2017.
              19
                                                                      __________________________________________
              20                                                      UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                    -2-
